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                             IN THE UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH

    KATE GRANT and KARMANN KASTEN,
    LLC,                                                    DEFAULT CERTIFICATE
                                         Plaintiff,
                                                        Civil No. 2:23-cv-00936-AMA-CMR
    vs.
    KEVIN LONG; MILLCREEK                               District Judge Ann Marie McIff Allen
    COMMERCIAL PROPERTIES, LLC;
    COLLIERS INTERNATIONAL; BRENT                       Magistrate Judge Cecilia M. Romero
    SMITH; SPENCER TAYLOR; BLAKE
    MCDOUGAL; and MARY STREET,
                                       Defendants.


          Based on the failure of Millcreek Commercial Properties, LLC, to appear and defend, the

  Clerk hereby enters the default of Millcreek Commercial Properties, LLC, pursuant to Fed. R.

  Civ. P. 55.

          DATED this _____ day of March, 2025.



                                       CLERK OF COURT
